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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION




LINDA UNDERWOOD                                                             PLAINTIFF

v.                               CASE NO. 5:20-CV-5090

ANDREW M. SAUL, Commissioner,
Social Security Administration                                              DEFENDANT



                                      JUDGMENT

       Pursuant to the Order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that the decision of the Administrative Law Judge is REVERSED, and this case

is REMANDED to the Commissioner for further consideration pursuant to sentence four of 42

U.S.C. § 405(g).

       IT IS SO ORDERED this May 5, 2021.



                                         /s/P. K. Holmes III
                                         P. K. HOLMES III
                                         U.S. DISTRICT JUDGE
